UNITED STATES DISTRICT COURT

soUTHERN DISTRICT OF NEW YORK
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CONSENT PRELIMINARY ORDER OF

UNITED STATES OF AMERICA ` : FORFEITURE AS TO SPECIFIC
' PROPERTY/MONEY JUDGMENT

_ V_ _
18 Cr. 43 (CS)
MICHAEL SCRONIC,
Defendant.

WHEREAS, on or about January 22, 2018, MICHAEL
SCRONIC, (the “Defendant”) Was charged in an Indictment, 18 Cr.
43 (CS) (the “Indictment”), with one count of securities fraud,
in violation of Title 15, United States Code, Sections 78j(b)
and 7Bff and Title 17, Code of Federal Regulations, Section
240.lOb-5 ("Count One"); one count of wire fraud, in violation
of Title 18, United States Code, Section 1343; and one count of
mail fraud, in violation of Title 18, United States Code,
Section 1341;

WHEREAS, the Indictment included a forfeiture
allegation as to Counts One through Three seeking, pursuant to
Title 18, United States Code, Section 981(a)(1)(C) and Title 28,
United States Code, Section 2461, the forfeiture of all
property, real and personal, that constitutes or is derived from
proceeds traceable to the commission of the offense alleged in

Counts One through Three, including but not limited to the

following:

 

a. _a sum of United States currency equal to at least
$22,771,176;

b. all right, title and interest of the defendant in
all that lot or parcel of land, together with its
buildings, appurtances, improvements, fixtures,
attachments and easements, located at Unit lDr
Stratton Springs Condominium, Stratton Springs
Road, Stratton, Vermont; and

C. all right, title and interest of the defendant in
all that lot or parcel of land, together with its
buildings, appurtances, improvements, fixtures,
attachments and easements, designated as Lot 18
on Map No. 7829B, filed in the Office of the
County Clerk of Dutchess County, Division of Land
Records, on June 17, 1996, also known as Rear Lot
lB, DiPietro Lane, Pawling, New York

(b and c, together, the "Subject Property);

WHEREAS, on or about March 15, 2018, the Defendant
pleaded guilty to Count One of the Indictment; and

WHEREAS, the defendant consents to entry of a money
judgment in the amount of $22,771,176 in United States currency
representing property that constitutes or is derived from
proceeds traceable to the commission of the offense alleged in
Count One of the Indictment;

WHEREAS, the defendant further consents to the
forfeiture of all his right, title and interest in the Subject
Property;

WHEREAS, the defendant agrees that the Subject

Property is forfeitable to the United States because the Subject

Property constitutes or is derived from proceeds traceable to

 

the commission of the offense charged in Count One of the
Indictment; and

WHEREAS,'pursuant to Title 21, United States Code,
Section 853(g), and Rules 32.2(b)(3) and 32.2(b)(6) of the
Federal Rules of Criminal Procedure, the Government is now
entitled, pending any assertion of third-party claims, to seize
and maintain the Subject Property in its possession and to
notify any and all persons who reasonably appear to be a
potential claimant of their interest therein;

IT IS HEREBY STIPULATED AND AGREED, by and between the
United States of America, by its attorney Geoffrey S. Berman,
United States Attorney, Assistant United States Attorney James
McMahon, of counsel, and the defendant and his counsel, Susanne
Brody, Esq., that:

l. As a result of the offense charged in Count One of
the Indictment, to which the Defendant pled guilty, a money
judgment in the amount of $22,771,176 in United States currency
shall be entered against the defendant.

2. As a result of the offense charged in Count One of
the Indictment, to which the defendant pled guilty, all of the
defendant‘s right, title and interest in the Subject Property is
hereby forfeited to the United States for disposition in l
accordance with the law, subject to the provisions of Title 21,

United States Code, Section 853. The defendant agrees that he

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will not file a claim or a petition for remission or mitigation
in any forfeiture proceeding involving the Subject Property and
will not assist anyone else in doing so. Upon the entry of a
Final Order of Forfeiture forfeiting the Subject Property to the
United States, the Subject Property shall be applied towards the
satisfaction of the Money Judgment.

3. Pursuant to Rule 32.2(b)(4) of the Federal Rules
of Criminal Procedure, upon entry of this Order, this Consent
Preliminary Order of Forfeiture as to Specific Property/Money
Judgment is final as to the defendant and shall be deemed part
of the sentence of the defendant, and shall be included in the
judgment of conviction therewith.

4. All payments on the outstanding Money Judgment
shall be made by postal money order, bank or certified check,
made payable, in this instance to the “United States Marshals
Service,¥ and delivered by mail to the United States Attorney’s
Office, Southern District of New York, Attn: Money Laundering
and Asset Forfeiture Unit, One St. Andrew's Plaza, New York, New
York 10007, and shall indicate the defendant’s name and case
number.

5. Upon entry of this Consent Preliminary Order of
Forfeiture as to Specific Property/Money Judgment and pursuant
to Title 21, United States Code, Section 853, the United States

Marshals Service shall be authorized to deposit the payments on

 

the Money Judgment in the Assets Forfeiture Fundjr and the United
States shall have clear title to such forfeited property.

6. Upon entry of this@Consent Preliminary Order of
Forfeiture as to Specific Property/Money Judgment, the United
States Marshals Service (or its designee) is authorized to seize
the Subject Property and hold the Subject Property in its secure

custody and control.

7. Pursuant to Title 21, United States Code, Section
853(n)(1), Rule 32.2(b)(6) of the Federal Rules of Criminal
Procedure, and Rules G(4)(a)(iv)(C) and G(S)(a)(ii) Of the
Supplemental Rules for Admiralty or Maritime Claims and Asset
Forfeiture Actions, the United States shall publish for at least
thirty (30) consecutive days on the official government internet
forfeiture site, Www.forfeiture.gov, notice of this Consent
Preliminary Order of Forfeiture as to Specific Property/Money
Judgment. Any person, other than the defendant in this case,
claiming an interest in the Subject Property must file a
petition within sixty (60) days from the first day of
publication of the notice on this official government internet
site, or no later than thirty-five (35) days from the mailing of
the actual notice, whichever is earlier.

8. Pursuant to Rule 32.2(b)(6)(A) of the Federal
Rules of Criminal Procedure, the Government shall send notice to

any person who reasonably appears to be a potential Claimant

 

with standing to contest the forfeiture in the ancillary
proceeding.

~ 9. The notice referenced in the preceding paragraphs
shall state that the petition shall be for a hearing to
adjudicate the validity of the petitioner's alleged interest in
the Subject Property, shall be signed by the petitioner under
penalty of perjury, and shall set forth the nature and extent of
the petitioner's right, title and interest in the Subject
Property and any additional facts supporting the petitioner's
claim and the relief sought, pursuant to Title 21, United States
Code, Section 853(n).

10. Upon adjudication of all third-party interests,
this Court will enter a Final Order of Forfeiture with respect
to the Subject Property pursuant to Title 21, United States
Code, Section 853(n) and rule 32.2(c)(2) of the Federal Rules of
Criminal Procedure, in which all third-party interests will be
addressed~

ll. The Court shall retain jurisdiction to enforce
this Consent Preliminary Order of Forfeiture as to Specific
Property/Money Judgment, and to amend it if necessary, pursuant
to Rule 32.2(e) of the Federal Rules of Criminal Procedure.

12. Pursuant to Rule 32.2(b)(3) of the Federal Rules
of Criminal Procedure, upon entry of this Consent Preliminary

Order of Forfeiture as to Specific Property/Money Judgment, the

 

United States Attorney’s Office is authorized to conduct any
discovery needed to identify, locate or dispose of the property,
including depositions, interrogatories, requests for production
of documents and to issue subpoenas, pursuant to Rule 45 of the
Federal Rules of Civil Procedure.

13. The Clerk of the Court shall forward three
certified copies of this Consent Preliminary Order of Forfeiture
as to Specific Property/Money Judgment to Assistant United
States Attorney Alexander Wilson, Chief of the Money Laundering
and Asset Forfeiture Unit, One St. Andrew's Plaza, New York, New

York 10007.

 

14. The signature page of this Consent Preliminary

Order of Forfeiture as to Specific Property/Money Judgment may

be executed in one or more counterparts,

each of which will be

deemed an original but all of which together will constitute one

and the same instrument.

AGREED AND CONSENTED TO:

GEOFFREY S. BERMAN
United States Attorney for the
Southern District of New York

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es McMahon
sistant United States Attorney

MICHAEL SCRONIC

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Michael Scronic

   
 

By:
Su anne Brody, Esq.
Counsel to Michael S ronic
SO ORDERED:

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HONORABLE(&ATHY SEIBEL
UNITED STATES DISTRICT JUDGE

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Date

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Date

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Date

 

